t Case 1:15-cr-00661°JKB

 

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U.S. Department of Justice

United States Auorney
District of Maryland

 

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Charles N. Curlett, Esq.

Levin & Curlett LLC

201 N. Charles St., Suite 2000
Baltimore, MD 21201

(410} 685-0008

Re: Alan Landsman

Dear Mr. Curlett:

Suate -100 DIRECT: €1G-209-4913

3645. Charles Street Aga iN: 270-209-4800
Baliumore, MD 2720-3119 PAN? f10-962-300
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December 15, 2015 ee  ODGED___ RECEIVED
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This letier, together with the Sealed Supplement, confirms the plea agreement that has
been offered to the Defendant by the United States Attorney's Office for the District of Maryland
(“this Office”). If the Defendant accepts this offer, please have him execute it in the spaces
provided below. If this offer has not been accepted by January 5, 2016, i will be deemed
withdrawn. The terms of the agreement are as follows:

Offense of Conviction

1. ‘The Defendant agrees to plead guilty to Count One of an Information charging
him with conspiracy to commit mail fraud, in violation of 18 U.S.C. § 1349. The Defendant
admits that he is, in fact, guilty of that offense and will so advise the Court.

Elements of the Offense

2. The elements of the offense to which the Defendant has agreed to plead guilty,
and which the Government would have proven if the case had gone to trial, are as follows:

a, The Deferidant and at least one other person entered into an unlawful agreement;

b. The purpose of the agreement was to knowingly execute or altempl to execute a
scheme and artifice to defraud or to obtain money by means of materially false
and fraudulent pretenses, representations and promises, as charged in the

Information:

ce. The Defendant knowingly and willfully became a member of the conspiracy.
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Penalties

3. The maximum sentence provided by statute for the offense to which the
Defendant is pleading guilty is twenty (20) years of imprisonment, a fine of not more than
$250,000, or twice the gross gain or loss derived or resulting from the offense, whichever is
greater, and a term of supervised release of up to three (3) years. In addition, the Defendant must
pay $100 as a special assessment pursuant to 18 U.S.C. § 3013, which will be due and should be
paid at or before the time of sentencing. This Court may also order him to make restitution
pursuant to 18 U.S.C. §§ 3663, 3663A, and 3664.' Ifa fine or restitution is imposed, it shall be
payable immediately, unless, pursuant to 18 U.S.C. § 3572(d), the Court orders otherwise. The
Defendant understands that if he serves a term of imprisonment, is released on supervised
release, and then violates the conditions of his supervised release, his supervised release could be
revoked - even on the last day of the term - and the Defendant could be returned to custody to
serve another period of incarceration and a new term of supervised release. The Defendant
understands that the Bureau of Prisons has sole discretion in designating the institution at which
the Defendant will serve any term of imprisonment imposed.

Waiver of Rights

4. The Defendant understands that by entering into this agreement, he surrenders
certain rights as outlined below:

a. If the Defendant had persisted in his plea of not guilty, he would have had the
right to a speedy jury trial with the close assistance of competent counsel. That
trial could be conducted by a judge, without a jury, if the Defendant, this Office,
and the Court all agreed.

b. If the Defendant elected a jury trial, the jury would be composed of twelve
individuals selected from the community. Counsel and the Defendant would have
the opportunity to challenge prospective jurors who demonstrated bias or who
were otherwise unqualified, and would have the opportunity to strike a certain
number of jurors peremptorily. All twelve jurors would have to agree
unanimously before the Defendant could be found guilty of any count. The jury
would be instructed that the Defendant was presumed to be innocent, and that
presumption could be overcome only by proof beyond a reasonable doubt.

c. Ifthe Defendant went to trial, the government would have the burden of proving
the Defendant guilty beyond a reasonable doubt. The Defendant would have the
right to confront and cross-examine the government’s witnesses. The Defendant
would not have to present any defense witnesses or evidence whatsoever. If the

 

! Pursuant to 18 U.S.C. § 3612, if the Court imposes a fine.in excess of $2,500 that
remains unpaid 15 days after it is imposed, the Defendant shall be charged interest on that fine,
unless the Court modifies the interest payment in accordance with 18 U.S.C. § 3612(f)(3).

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Defendant wanted to call witnesses in his defense, however, he would have the
subpoena power of the Court to compel the witnesses to attend.

d. The Defendant would have the right to testify in his own defense if he so chose,
and he would have the right to refuse to testify. If he chose not to testify, the
Court could instruct the jury that they could not draw any adverse inference from
his decision not to testify.

e. If the Defendant were found guilty after a trial, he would have the right to appeal
the verdict and the Court’s pretrial and trial decisions on the admissibility of
evidence to see if any errors were committed which would require a new trial or
dismissal of the charges against him. By pleading guilty, the Defendant
knowingly gives up the right to appeal the verdict and the Court’s decisions.

f. By pleading guilty, the Defendant will be giving up all of these rights, except the
right, under the limited circumstances set forth in the “Waiver of Appeal”
paragraph below, to appeal the sentence. By pleading guilty, the Defendant
understands that he may have to answer the Court’s questions both about the
rights he is giving up and about the facts of his case. Any statements the
Defendant makes during such a hearing would not be admissible against him
during a trial except in a criminal proceeding for perjury or false statement.

g. Ifthe Court accepts the Defendant’s plea of guilty, there will be no further trial or
proceeding of any kind, and the Court will find him guilty.

h. By pleading guilty, the Defendant may also be giving up certain valuable civil
rights and may be subject to deportation or other loss of immigration status. The
Defendant recognizes that if he is not a citizen of the United States, pleading
guilty may have consequences with respect to his immigration status. Under
federal law, conviction for a broad range of crimes can lead to adverse
immigration consequences, including automatic removal from the United States.
Removal and other immigration consequences are the subject of a separate
proceeding, however, and the Defendant understands that no one, including his
atlorney or the Court, can predict with certainty the effect of a conviction on
immigration status. Defendant nevertheless affirms that he wants to plead puilty
regardless of any potential immigration consequences.

Advisory Sentencing Guidelines Apply

5. The Defendant understands that the Court will determine a sentencing guidelines
range for this case (henceforth the “advisory guidelines range”) pursuant to the Sentencing
Reform Act of 1984 at 18 U.S.C. §§ 3551-3742 (excepting 18 U.S.C. §§ 3553(b)(1) and 3742(e))
and 28 U.S.C. §§ 991 through 998. The Defendant further understands that the Court will
impose a sentence pursuant to the Sentencing Reform Act, as excised, and must take into account
the advisory guidelines range in establishing a reasonable sentence.
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6.

Factual and Advisory Guidelines Stipulation

This Office and the Defendant understand, agree, and stipulate to the Statement of

Facts set forth in Attachment A hereto, which this Office would prove beyond a reasonable
doubt, and to the following applicable sentence guidelines factors:

a.

Pursuant to U.S.S.G, § 2B1.1(a)(1), the Base Offense Level for this
offense is 7.

Pursuant to U.S.S8.G, § 2B1.1(b)(1)(L), the Base Offense Levei is
increased by 22 levels because the loss was between $25,000,000
and $65,000,000.

Pursuant to U.S.S.G. § 2B1.1(b)(2)(A), the Base Offense Level is
increased 2 levels because the offense involved 10 or more
victims.

Pursuant to U.S.S.G. § 2B1.1(b)(10)(C), the Base Offense Level is
increased 2 levels because the offense involved sophisticated
means and the defendant intentionally engaged in or caused the
conduct constituting sophisticated means.

This Office does not oppose a 2 level reduction in the Defendant's
adjusted offense level, based upon the Defendant’s apparent
prompt recognition and affirmative acceptance of personal
responsibility for his criminal conduct. This Office agrees to make
a motion pursuant to U.S.S.G. § 3E1.1(b) for an additional | level
decrease in recognition of the Defendant’s timely notification of
his intention to plead guilty.

This Office may oppose any adjustment for acceptance of
responsibility if the Defendant (a) fails to admit each and every
item in the factual stipulation; (b) denies involvement in the
offense; (c) gives conflicting statements about his involvement in
the offense; (d) is untruthful with the Court, this Office, or the
United States Probation Office; (e) obstructs or attempts to
obstruct justice pricr to sentencing; (f} engages in any criminal
conduct between the date of this agreement and the date of
sentencing; or (g) attempts to withdraw his plea of guilty.

Accordingly, the resulting adjusted offense level is 30.

7.

The Defendant understands that there is no agreement as to his criminal history or

criminal history category, and that his criminal history could alter his offense level if he is a
career offender or if the instant offense was a part of a pattern of criminal conduct from which he
derived a substantial portion of his income.

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8. This Office and the Defendant agree that with respect to the calculation of the
advisory guidelines range, no other offense characteristics, sentencing guidelines factors,
potential departures or adjustments set forth in the United States Sentencing Guidelines will be
raised or are in dispute.

18 U.S.C. § 3553(a

9. This Office and the Defendant agree that both parties reserve the right to argue
that this Court should sentence the Defendant to a variant sentence outside of the advisory
guidelines range determined by the Court. This Office and the Defendant stipulate and agree that
if either party intends to argue, pursuant to 18 U.S.C. § 3553(a), that the sentence in this case
should fall outside of the advisory guidelines range based on any factor, that party will notify
opposing counsel at least 14 days in advance of sentencing of the facts or issues the party intends
to raise. If the party seeking the non-guideline sentence fails to provide timely notice of the
intent to argue for a sentence outside the advisory guidelines range, that party will withdraw the
3553(a) arguments or consent to a continuance of the sentencing date.

Obligations of the United States Attorney’s Office

10. At the time of sentencing, this Office will recommend a sentence of imprisonment
it deems to be sufficient, but not greater than necessary, to accomplish the purposes set forth in
18 U.S.C. § 3553(a), and an order of restitution to the victims of the fraud in the amount of
$58,656,369.

11. The parties reserve the right to bring to the Court’s attention at the time of
sentencing, and the Court will be entitled to consider, all relevant information concerning the
Defendant’s background, character and conduct, including any conduct that is related to the
overall scheme that gave rise to the pending charges, but that is not otherwise charged
substantively.

Collection of Financial Obligations

12. The Defendant expressly authorizes the U.S. Attorney’s Office to obtain a credit
report in order to evaluate the Defendant’s ability to satisfy any financial obligation imposed by
the Court. In order to facilitate the collection of financial obligations to be imposed in
connection with this prosecution, the Defendant agrees to disclose fully all assets in which the
Defendant has any interest or over which the Defendant exercises control, directly or indirectly,
including those held by a spouse, nominee or other third party. The Defendant will promptly
submit a completed financial statement to the United States Attorney’s Office, in a form this
Office prescribes and as it directs. The Defendant promises that the financial statement and
disclosures will be complete, accurate and truthful, and understands that any willful falsehood on
the financial statement will be a separate crime and may be punished under 18 U.S.C. § 1001 by
an additional five years’ incarceration and fine.
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Restitution

13, The Defendant agrees to the entry of a Restitution Order in the amount of
$58,656,369, the amount of loss. The Defendant agrees that, pursuant to 18 U.S.C, §§ 3663 and
3663A and §§ 3563(b)(2) and 3583(d), the Court may order restitution of the full amount of the
actual, total loss caused by the offense conduct set forth in the factual stipulation. The Defendant
further agrees that he will fully disclose to the probation officer and to the Court, subject to the
penalty of perjury, all information, including but not limited to copies of all relevant bank and
financial records, regarding the current location and prior disposition of all funds obtained as a
result of the criminal conduct set forth in the factual stipulation. The Defendant further agrees to
take all reasonable steps to retrieve or repatriate any such funds and to make them available for
restitution. If the Defendant does not fulfill this provision, it wil! be considered a material breach
of this plea agreement, and this Office may seek to be relieved of its obligations under this
agreement.

Forfeiture

14. The Defendant understands that the Court will, upon acceptance of his guilty plea,
enter an order of forfeiture as part of his sentence, and that the order will include assets directly
traceable to his offense, substitute assets and/or a money judgment equal to the value of the
property subject to forfeiture. Specifically, as a consequence of the Defendant’s plea of guilty to
Count One of the Information charging a violation of 18 U.S.C. § 1349, the Court will order the
forfeiture of all property, real or personal, which constitutes or is derived from proceeds
traceable to the scheme to defraud.

The property to be forfeited includes but is not limited to, a sum of money equal to the
proceeds of the scheme to defraud foreseeable to the Defendant, which amount is at least
$58,656,369.

_ 15. The Defendant agrees to consent to the entry of orders of forfeiture for such
property and waives the requirements of Federal Rules of Criminal Procedure 11(b)(1)(J), 32.2
and 43(a) regarding notice of the forfeiture in the charging instrument, advice regarding the
forfeiture at the change-of-plea hearing, announcement of the forfeiture at sentencing, and
incorperation of the forfeiture in the judgment.

Assisting the Government with Regard to Forfeiture

16. The Defendant agrees to assist fully in the forfeiture of the foregoing assets. The
Defendant agrees to disclose all of his assets and sources of income to the United States, and to
take all steps necessary to pass clear title to the forfeited assets to the United States, including but
not limited to executing any and all documents necessary to transfer such title, assisting in
bringing any assets located outside of the United States within the jurisdiction of the United
States, and taking whatever steps are necessary to ensure that assets subject to forfeiture are not
sold, disbursed, wasted, hidden or otherwise made unavailable for forfeiture. The Defendant also
agrees to give this Office permission to request and review his federal and state income tax
returns, and any credit reports maintained by any consumer credit reporting entity, until such
time as the money judgment is satisfied. In this regard, the Defendant agrees to complete and

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sign a copy of IRS Form 8821 (relating to the voluntary disclosure of federal tax retum
information) as well as whatever disclosure form may be required by any credit reporting entity.

Waiver of Further Review of Forfeiture

17. The Defendant further agrees to waive all constitutional, legal and equitable
challenges (including direct appeal, habeas corpus, or any other means) to any forfeiture carried
out in accordance with this plea agreement on any grounds, including that the forfeiture
constitutes an excessive fine or punishment. The Defendant also agrees not to challenge or seek
review of any civil or administrative forfeiture of any property subject to forfeiture under this
agreement, and will not assist any third party with regard to such challenge or review or with
regard to the filing of a petition for remission of forfeiture.

Waiver of Appeal

18. In exchange for the concessions made by this Office and the Defendant in this
plea agreement, this Office and the Defendant waive their rights to appeal as follows:

a. The Defendant knowingly waives all right, pursuant to 28 U.S.C. § 1291, or
otherwise, to appeal the Defendant’s conviction;

b. The Defendant and this Office knowingly waive all right, pursuant to 18 U.S.C. §
3742 or otherwise, to appeal whatever sentence is imposed (including the right to
appeal any issues that relate to the establishment of the advisory guidelines range,
the determination of the Defendant’s criminal history, the weighing of the
sentencing factors, and the decision whether to impose and the calculation of any
term of imprisonment, fine, order of forfeiture, order of restitution, and term or
condition of supervised release);

c. Nothing in this agreement shall be construed to prevent the Defendant or this
Office from invoking the provisions of Federal Rule of Criminal Procedure 35(a),
or from appealing from any decision thereunder, should a sentence be imposed
that resulted from arithmetical, technical, or other clear error; and

d. The Defendant waives any and all rights under the Freedom of Information Act
relating to the investigation and prosecution of the above-captioned matter and
agrees not to file any request for documents from this Office or any investigating
agency.

Obstruction or Other Violations of Law

19. The Defendant agrees that he will not commit any offense in violation of federal,
state or local Jaw between the date of this agreement and his sentencing in this case. In the event
that the Defendant (i) engages in conduct after the date of this agreement which would justify a
finding of obstruction of justice under U.S.S.G, § 3C1.1, or (ii) fails to accept personal
responsibility for his conduct by failing to acknowledge his guilt to the probation officer who

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prepares the Presentence Report, or (iii) commits any offense in violation of federal, state or
local law, then this Office will be relieved of its obligations to the Defendant as reflected in this
agreement. Specifically, this Office will be free to argue sentencing guidelines factors other than
those stipulated in this agreement, and it will also be free to make sentencing recommendations
other than those set out in this agreement, As with any alleged breach of this agreement, this
Office will bear the burden of convincing the Court of the Defendant’s obstructive or unlawful
behavior and/or failure to acknowledge personal responsibility by a preponderance of the
evidence. The Defendant acknowledges that he may not withdraw his guilty plea because this
Office is relieved of its obligations under the agreement pursuant to this paragraph.

Court Not a Party

20. The Defendant expressly understands that the Court is not a party to this
agreement. In the federal system, the sentence to be imposed is within the sole discretion of the
Court. In particular, the Defendant understands that neither the United States Probation Office
nor the Court is bound by the stipulation set forth above, and that the Court will, with the aid of
the Presentence Report, determine the facts relevant to sentencing. The Defendant understands
that the Court cannot rely exclusively upon the stipulation in ascertaining the factors relevant to
the determination of sentence. Rather, in determining the factual basis for the sentence, the
Court will consider the stipulation, together with the results of the presentence investigation, and
any other relevant information. The Defendant understands that the Court is under no obligation
to accept this Office’s recommendations, and the Court has the power to impose a sentence up to
and including the statutory maximum stated above. The Defendant understands that if the Court
ascertains factors different from those contained in the stipulation set forth above, or if the Court
should impose any sentence up to the maximum established by statute, the Defendant cannot, for
that reason alone, withdraw his guilty plea, and will remain bound to fulfill all of his obligations
under this agreement. The Defendant understands that neither the prosecutor, his counsel, nor
the Court can make a binding prediction, promise, or representation as to what guidelines range
or sentence the Defendant will receive. The Defendant agrees that no one has made such a
binding prediction or promise.

Entire Agreement

21, This letter supersedes any prior understandings, promises, or conditions between
this Office and the Defendant and, together with the Sealed Supplement, constitutes the complete
plea agreement in this case. The Defendant acknowledges that there are no other agreements,
promises, undertakings or understandings between the Defendant and this Office other than those
set forth in this letter and addendum and none will be entered into unless in writing and signed
by all parties.
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if the Defendant fully accepts each and every term and condition of this letter, please sign
and have the Defendant sign the original and return it to me promptly.

Red J. Rosenstein
United States Attorney

»: ne

an R. Delaney
Assistant United States anc mey

1 have read this agreement and carefully reviewed every part of it with my attorney. I
understand it, and | voluntarily agree to it. Specifically, 1 have reviewed the Factual and
Advisory Guidelines Stipulation with my attorney, and 1 do not wish to change any part of it. |
understand this plea agreement, and 1 voluntarily agree to it. | am completely satisfied with the
representation of my attorney.

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ate Alan Landsmaf.

 

fam Mr. Landsman’s attorney. | have carefully reviewed every part of this agreement,
including the Sealed Supplement, with him. He advises me that he understands and accepts its
terms. To my knowledge. his decision.lo enter into (his agreement is an informed and voluntary
one.

2/24 Js
Date Charles N. Curlett, Est

  
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ATTACHMENT A
FACTUAL STIPULATION

It is agreed and stipulated that were the Government to proceed to trial in this case, it
would prove, beyond a reasonable doubt, by admissible testimonial and documentary evidence,
the guilt of the Defendant on the charge of conspiracy to commit wire fraud, in violation of 18

U.S.C. § 1349. moe gal YA Fv
The Defendant agrees to the truth of the summary of evidence set forth below and

acknowledges that it does not represent all the evidence the Government would have produced
had the case proceeded to trial.

At all relevant times, the defendant ALAN LANDSMAN (“LANDSMAN”) resided in
York, Pennsylvania. He worked at Midway Industries, LLC (“Midway”), a telemarketing
company incorporated in the State of Maryland that purported to sell light bulbs and cleaning
supplies to companies throughout the United States.

From in or about 2010 through in or about July 2014, in the District of Maryland and
elsewhere, LANDSMAN did knowingly and willfully conspire, confederate, and agree with
others known and unknown (“the Midway co-conspirators”) to commit mail fraud, that is to
knowingly and willfully devise and intend to devise a scheme and artifice to defraud and to
obtain money and property from various businesses, by means of materially false and fraudulent
pretenses, representations, and promises regarding light bulb and cleaning supply orders (“the
scheme to defraud”), and for the purpose of executing and attempting to execute such scheme to
defraud, did knowingly cause to be delivered by mail and by any private and commercial
interstate carrier any matter and thing, according to the direction thereon, in violation of 18
U.S.C. § 1341.

It was the object of the conspiracy and scheme to defraud that LANDSMAN and the
Midway co-conspirators obtained money from thousands of victim businesses by deceiving the
businesses’ authorized representatives into paying exorbitant prices for light bulbs and cleaning
supplies, as well as paying for products that the businesses never ordered.

Shell Entities

LANDSMAN and the Midway co-conspirators created and caused to be created various
shell entities with no legitimate purpose, including Commercial Industries, LLC, Environmental
Industries, LLC, Essex Industries, LLC, Hansen Supply, LLC, Johnson Distributing, LLC, Mid-
Atlantic Industries, LLC, National, LLC, Standard Industries, LLC, State Power and Electric,
LLC, State Power and Lighting, LLC (collectively the “Shell Entities”), From in or about April
2010 through in or about July 2014, LANDSMAN and the Midway co-conspirators made and
caused to be made phone calls to victim businesses purportedly on behalf of various individual
Shel! Entities. In those phone calls to victim businesses, LANDSMAN and the Midway co-
conspirators misled victim businesses by concealing that Midway Industries, LLC and the Shell
Entities (collectively “Midway”) were being jointly operated by the Midway co-conspirators

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from the same location in Reisterstown, Maryland, as well as locations in Del Ray Beach and
West Palm Beach, Florida.

LANDSMAN and the Midway co-conspirators used Post Office boxes throughout
Maryland for each of the Shell Entities to cause the victim businesses to believe that each Shell
Entity was a different company, and to conceal Midway’s true location from the victim
businesses. They avoided calling businesses located in Maryland and Florida for the purpose of
concealing Midway’s true location and avoiding in person contact with victim businesses.

False Representations Made to Victim Businesses

LANDSMAN and the Midway co-conspirators used commercially available “lead
sheets” to make “cold calls” to contact representatives of the victims businesses with authority to
place an order (“authorized representative”), who were often maintenance employees.
LANDSMAN and the Midway co-conspirators made false and fraudulent representations to
authorized representatives on cold calls, including:

a. Misrepresenting that the victim business had an existing business relationship with
Midway;

b. Misrepresenting that the purpose of the phone call was to provide an updated phone
number, or to send catalogues to the victim business;

c. Misrepresenting that Midway would send a “half box” of light bulbs along with the
catalogue, when in truth and fact, there was no such thing as a half box.

When making initial calls, LANDSMAN and the Midway co-conspirators regularly
promised Wal-Mart and Bass Pro Shops gift cards to authorized representatives in order to
induce authorized representatives to place initial orders or to provide to Midway additional
company information or personal information, like the authorized representatives’ home
addresses and personal phone numbers. LANDSMAN and the Midway co-conspirators avoided
divulging the price of any products to victim businesses by engaging in a practice called the
“price blow-off,” in which they falsely stated that they did not have the price in front of them,
but that it would be at the corporate discount. In truth and fact, Midway did not offer a corporate
discount.

LANDSMAN and the Midway co-conspirators sent invoices for payment to the victim
businesses. If the invoices were not paid, the Collections Department at Midway got involved.
Ifa victim company paid a Midway invoice, LANDSMAN and the co-conspirators placed
subsequent sales calls to the victim businesses. On subsequent calls, LANDSMAN and the
Midway co-conspirators made additional false representations, including:

a. Misrepresenting that the “completion” or “balance” of the victim business’ order had
recently been shipped, despite no order having yet been made by the victim business, and
no actual shipment having yet been sent;

b. Misrepresenting that the victim business’ “regular seasonal order” had recently been
shipped, despite no order having yet been made by the victim business, and no actual
shipment having yet been sent.

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LANDSMAN and the Midway co-conspirators would regularly call authorized
representatives repeating the above-referenced false representations so long as the victim
business continued paying Midway’s invoices. They also called authorized representatives under
the guise of different Shell Entities in order to repeat the process using a product other than light

_ bulbs, often cleaning supplies.

Price Markups and Collections

LANDSMAN and the Midway co-conspirators placed and caused to be placed orders for
light bulbs and cleaning supplies with a company located in New Jersey identified as Company
A. At the Midway co-conspirators’ instruction, Company A shipped light bulbs and cleaning
supplies to the victim businesses without an invoice, and sent its invoices directly to Midway.
LANDSMAN and the Midway co-conspirators then sent and caused to be sent invoices to the
billing departments of the victim businesses, which were often different departments from those
of the authorized representatives, for amounts greatly inflated from the amounts charged by
Company A. These invoices were regularly 900% above the prices Midway paid Company A for
the same light bulbs and cleaning supplies. After victim businesses had paid one invoice, the
Midway co-conspirators sent and caused to be sent invoices to the victim businesses that were
sometimes greater than 8,000% above the prices Midway paid Company A for the same light
bulbs and cleaning supplies. The Midway co-conspirators set the markup to extract as much
money as possible without the victim businesses becoming aware of the fraud.

When victim businesses did not remit payment, the Collections Department at Midway
repeatedly called and made demands on victim businesses in order to force them to pay the
overly-inflated invoices sent to them by Midway. Midway co-conspirators in the Collections
Department would insist that the fact the authorized representative had provided his home
address for the purposes of receiving a gift card indicated that the authorized representative had
actually placed an order with Midway.

In the event that a victim business threatened to contact law enforcement or the Better
Business Bureau, the Midway co-conspirators would offer to take back a product at either a
discounted rate or for a re-stocking fee that was still substantially greater than the cost of the
products purchased from Company A.

Additional Fraudulent Techniques

On multiple occasions, when the authorized representative at a victim company could not
be reached by phone, LANDSMAN and the Midway co-conspirators would “just ship,” or “J/S,”
a reference to the practice of causing a product and inflated invoice to be sent to a victim
business, even though the victim business had placed no order with Midway. This practice was
also commonly referred to as “taking a shot.” On multiple occasions, when LANDSMAN and
the Midway co-conspirators learned that the authorized representative at a victim company had
quit, been fired, or even passed away, they caused a product and inflated invoice to be sent to the
victim company knowing that the company would be unable to dispute the validity of the order.
This practice was referred to by the Midway co-conspirators as a “down the road.”

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Between 2010 and 2014, Midway sent fraudulent invoices to victim companies for more
than $100,000,000, and received more than $50,000,000 in payments on those invoices.

In furtherance of the conspiracy and for the purpose of executing the scheme to defraud,
LANDSMAN and the Midway co-conspirators, in the District of Maryland and elsewhere, did
knowingly cause to be delivered by mail and by any private and commercial interstate carrier
any matter and thing, according to the direction thereon, including:

 

DATE

 

 

 

 

 

 

DESCRIPTION

6/28/2013 Invoice from National, LLC in Maryland mailed to Victim Business #1
in Bronx, New York, for $590.96 for light bulbs ordered from Company
A with a cost of $82.30.

9/17/2013 Invoice from Standard Industries, LLC in Maryland to Victim Business
#2 in Savanna, Oklahoma for $999.45 for light bulbs ordered from
Company A with a cost of $74.00,

4/15/2014 Invoice from National, LLC in Maryland mailed to Victim Business #1
in Bronx, New York, for $590.96 in light bulbs ordered from Company
A with a cost of $83.01.

8/14/2013 Invoice from Commercial Industries, LLC in Maryland mailed to Victim
#3 in Lewisville, Texas, for $999.97 for light bulbs ordered from
Company A with a cost of $67.51

1/3/2014 Invoice from Commercial Industries, LLC in Maryland mailed to Victim

 

Business #3 in Lewisville, Texas, for $4,947.35 for light bulbs ordered
from Company A with a cost of $70.80.

 

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I have read this statement of facts, and carefully reviewed it with my attorney, |

acknowledge that it is true and correct.
2/71/ ZaS LLE

Date Alan Landsman

 

I am Alan Landsman’s attorney. | have carefully reviewed this statement of facts with

2 “Bf 75 : ele B LE

Date Charles N. Curlett, Esa-~

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